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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                     Roanoke Division

 TRAVIS WAYNE TOLLEY,                        )
                                             )
        Plaintiff                            )
                                             )
 v.                                          )      Civil Action No.: 7:19-cv-863
                                             )
 BEN CALDWELL, et al,                        )
                                             )
        Defendants                           )




                                           ORDER

        This matter is before the court on the defendants' motion requesting an extension of time

 to file motions or a response to the Complaint. For the reasons stated therein, it is now

 ORDERED that the defendants' Motion for Extension (Docket No. 27) is GRANTED, and the

 defendants shall file motions or a response to the Complaint or before August 12, 2020.

        Entered: July 14, 2020




                                             ________________________________________
                                                               Judge
